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                                                                       November 6, 2020

Hon. John P. Cronan
Daniel Patrick Moynihan
United States Courthouse                                                                                                                                     11/9/2020
500 Pearl Street
New York, NY 10007

Re:              Al Thani v. Hanke et al., Case No. 1:20-cv-4765 (JPC)

Dear Judge Cronan:

        We are counsel to plaintiff Mohammed Thani A.T. Al Thani (“Plaintiff”) in the above
captioned case. I am writing concerning the telephonic conference in this matter set by Your
Honor for Monday, November 9, 2020 at 3:00 p.m., pursuant to an order of the Court dated
November 5, 2020 [ECF No. 69].

         Regretfully, I am unavailable for the conference as currently scheduled because I am lead
counsel in a five-day arbitration in Houston, Texas beginning on Monday. In light of Your
Honor's Individual Rules and Practices, Rule 5.A, requiring the attendance of principal trial
counsel at all conferences, I have informed all counsel of record as well as Defendant Ms. Roy-
Haeger of my conflict, and have asked if they would consent to a request to reschedule the
conference for the following Monday, November 16. Mr. Herndon, counsel for Defendants Alan
J. Hanke ("Hanke") and IOLO Global LLC ("IOLO"), has consented, conditional on our
agreement that Hanke and IOLO have not waived any arguments concerning the November 15
date by consenting to our request. Mr. McCarthy, counsel for Defendant Sidney Mills Rogers
III, takes no position on the request, but has noted that he is available on the originally scheduled
date as well as November 16. We did not receive a response from Mr. Dweck, counsel for
Defendants Subgallagher Investment Trust and Sherry Sims, nor did we receive a response from
Defendant Amy Roy-Haeger.

         I respectfully request an adjournment of the currently scheduled conference to Monday,
November 16, 2020, or a date and time that is convenient to the Court. This is the first request
for an adjournment of this conference.

             I appreciate your attention to this matter.




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Hon. John P. Cronan                      -2-                               November 6, 2020

                                               Respectfully submitted,

                                               By: /s/ Michael C. Hefter

                                               Michael C. Hefter
                                               Partner
                                               Direct: (212) 918-3032
                                               michael.hefter@hoganlovells.com


cc:   All counsel of record (via ECF)
      Amy Roy-Haeger (via email)




It is hereby ORDERED that the conference scheduled for November 9, 2020 is
ADJOURNED to November 19, 2020 at 12:00 p.m.

SO ORDERED.

Date: November 8, 2020
      New York, New York
                                               _______________________
                                               JOHN P. CRONAN
                                               United States District Judge
